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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

RUSS McCULLOUGH, et al.,           :
                                   :
      Plaintiffs,                  :
                                   :
      v.                           :    CASE NO. 3:15cv1074(JAM)
                                   :    LEAD CASE
WORLD WRESTLING ENTERTAINMENT,     :
INC.,                              :
      Defendant.                   :
________________________________________________________________

EVAN SINGLETON and VITO            :
LOGRASSO,                          :
     Plaintiffs,                   :
                                   :
      v.                           :    CASE NO. 3:15cv425(JAM)
                                   :    CONSOLIDATED CASE
WORLD WRESTLING ENTERTAINMENT,     :
INC.,                              :
      Defendant.                   :
________________________________________________________________

JOSEPH M. LAURINAITIS, et al,          :
     Plaintiffs,                       :
                                       :
     v.                                :     CASE NO. 3:16cv1209(JAM)
                                       :     CONSOLIDATED CASE
WORLD WRESTLING ENTERTAINMENT,         :
INC., et al,                           :
     Defendants.                       :




          RECOMMENDED RULING ON DEFENDANT’S APPLICATION
                       FOR ATTORNEYS’ FEES

     Currently pending before this Court are Applications from

Defendant, World Wrestling Entertainment Inc. (“WWE”) for

Attorneys’ fees resulting from two separate orders of sanctions
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issued by the Honorable Vanessa L. Bryant. (Dkt. ## 379, 386,

and 446.)   Defendant seeks a total award of Attorney fees in the

amount of $573,770.44. (Dkt. #446 at 3.)        On March 30, 2021, the

Court held oral argument regarding the pending applications.

For the foregoing reasons, the undersigned recommends that fees

be awarded in the amount of $312,143.55

     A full recitation of the procedural history and facts

underlying the consolidated cases, which include over 400 docket

entries, is not necessary.     The Court presumes some familiarity

with the procedural history and the facts based on the many

published and unpublished opinions in this case.         The Court will

include additional factual detail as necessary throughout this

ruling.

     In August of 2016, defendant filed a motion for sanctions

in relation to a series of interrogatory responses submitted by

the plaintiffs.   (Dkt. #198).    The undersigned issued a ruling

recommending that the motion be granted, in part.         (Dkt. #371).

The recommendation was ultimately adopted by Judge Bryant. (Dkt.

#376).

     Additionally, after the plaintiffs filed their complaint

and first amended complaint, the defendant, in December of 2016,

filed a motion for sanctions under Rule 11 of the Federal Rules

of Civil Procedure. (Dkt. #262).        The motion was ultimately

granted, in part, by Judge Bryant. (Dkt. #383). Judge Bryant

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then referred the case to the undersigned to make a

recommendation as to the reasonable amount of sanctions in the

form of attorney fees.    (Dkt. #387). The case was subsequently

transferred to the Honorable Jeffrey A. Meyer (Dkt. #409), but

the referral for the recommended ruling still remains.

                               Standard

     The sole issue before the court is the proper amount of

fees to be awarded in connection with the two orders awarding

sanctions.   The Court will not, and need not, address any

tangential arguments raised by the parties regarding the

propriety of the sanctions that were issued.

     In determining the amount of attorney fees to be awarded,

courts in this district traditionally utilize “[t]he loadstar

amount for attorneys’ fees – . . . [the] presumptively

reasonable fee, is the product of reasonable hours times a

reasonable rate.” Lavatec Laundry Tech. GmbH v. Voss Laundry

Sols., No. 3:13-CV-00056 (SRU), 2018 WL 2426655, at *15 (D.

Conn. Jan. 9, 2018)(internal quotations and citations omitted).

     Therefore, when determining the loadstar, the court must

first determine the reasonable rate.       In the Second Circuit

Court of Appeals the reasonable hourly rate is the “‘prevailing

market rate,’ i.e., the rate ‘prevailing in the [relevant]

community for similar services by lawyers of reasonably

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comparable skill, experience, and reputation.’” Farbotko v.

Clinton County of New York, 433 F.3d 204, 208 (2d Cir.

2005)(alteration in original)(quoting Blum v. Stenson, 465 U.S.

886, 895 n. 11 (1984)).    The analysis continues by determining

the reasonable number of hours worked.       “Applications for fee

awards should generally be documented by contemporaneously

created time records that specify, for each attorney, the date,

the hours expended, and the nature of the work done.” Lavatec

Laundry, 2018 WL 2426655, at *16 (quoting Kirsch v. Fleet St.,

Ltd., 148 F.3d 149, 173 (2d Cir. 1998)).       The court may remove

hours that it deems to be excessive, redundant, or unnecessary

and may also issue an overall reduction for hours resulting from

vague or insufficient time entries.      See Id.

     When performing this function, the court may “adjust[] the

result, if necessary, to arrive at a reasonable fee award,

instead adopting a case-specific approach for determining a

reasonable fee to award.” Doe v. Darien Bd. of Educ., No.

3:11CV1581 (JBA), 2015 WL 8770003, at *1 (D. Conn Dec. 14,

2015)(citing Arbor Hill Concerned Citizens Neighborhood Ass'n v.

County of Albany & Albany County Bd. of Elections, 522 F.3d 182,

184 (2d Cir. 2008)).    In so doing a court should be “stepping

into the shoes of the reasonable, paying client, who wishes to

pay the least amount necessary to litigate the case

effectively.” Arbor Hill, 522 F.3d at 184.         In exercising its

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considerable discretion as to the appropriate fees, a court “may

increase or reduce the amount of the award in accordance with

equitable considerations such as the Johnson factors.” Lavatec

Laundry, 2018 WL 2426655, at *15.1

                                  DISCUSSION

         Plaintiffs make several objections to the defendant’s fee

application.      The Court will address the most relevant

objections below.       Where reasonable the Court has grouped

objections together into the same section.            After resolving the

objections, a final mathematical calculation based on the

analysis and adjustments has been included.

    I.     Out of District Rates, the Forum Rule, and the
           Reasonableness of Defendant’s Hourly Rate

         A large portion of defendant’s fees relate to work done by

lead counsel, Attorney Jerry McDevitt, and other attorneys



1 As noted in Doe v. Darien Board of Education, the Johnson factors are
      (1) the time and labor required by an attorney; (2) the
      novelty and difficulty of the questions presented by the
      litigation; (3) the level of skill required to perform the
      legal service properly; (4) the preclusion of other
      employment by the attorney because of acceptance of the case;
      (5) the attorney's customary hourly rate; (6) whether the fee
      is fixed or contingent; (7) the time limitations imposed by
      the client or the circumstances; (8) the amount involved in
      the case and the results obtained; (9) the experience,
      reputation and ability of the attorneys; (10) whether the
      case is undesirable; (11) the nature and length of the
      professional relationship with the client; and (12) awards in
      similar cases.
Darien Bd. of Educ., 2015 WL 8770003, at *2 n.3.


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associated with his law firm K&L Gates.       Attorney McDevitt

practices in the Pittsburgh, Pennsylvania office of K&L Gates.

Plaintiffs argue that the hourly rate charged by Attorney

McDevitt was excessive and not in line with the prevailing

market rate in the District of Connecticut.        According to the

affidavits filed and the application for attorney fees, over the

course of the litigation, Attorney McDevitt billed at an hourly

rate of between $815.00 per hour and $950.00 per hour.          During

oral argument the Court asked the lawyers whether it is

appropriate in this case to use the out-of-district rate, as

opposed to the prevailing hourly rate in Connecticut.

Specifically, the Court asked whether it is required to follow

the forum rule with respect to reasonable hourly rates.

     In Arbor Hill the Second Circuit provided a thorough and

detailed discussion on how to calculate the reasonable fee and

the role that the forum rule plays in the analysis. See Arbor

Hill Concerned Citizens Neighborhood Ass'n v. County of Albany &

Albany County Bd. of Elections, 522 F.3d 182, 190 (2d Cir.

2008).   “According to the forum rule, courts should generally

use the hourly rates employed in the district in which the

reviewing court sits in calculating the presumptively reasonable

fee.” Simmons v. New York City Transit Auth., 575 F.3d 170, 174

(2d Cir. 2009)(internal quotation and citation omitted).          The

Second Circuit stated that there is a presumption “that a

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reasonable, paying client would in most cases hire counsel from

within his district, or at least counsel whose rates are

consistent with those charged locally.” Arbor Hill, 522 F.3d at

191.    Importantly,

       [t]his presumption may be rebutted—albeit only in the
       unusual case—if the party wishing the district court to
       use a higher rate demonstrates that his or her retention
       of an out-of-district attorney was reasonable under the
       circumstances as they would be reckoned by a client
       paying the attorney's bill.

Id. (emphasis added).

       In Simmons the Second Circuit further clarified the

boundaries of the forum rule by stating that

       [w]e now hold that, when faced with a request for an
       award of higher out-of-district rates, a district court
       must first apply a presumption in favor of application
       of the forum rule. In order to overcome that presumption,
       a litigant must persuasively establish that a reasonable
       client would have selected out-of-district counsel
       because doing so would likely (not just possibly)
       produce   a   substantially   better   net   result.   In
       determining whether a litigant has established such a
       likelihood, the district court must consider experience-
       based, objective factors. Among the objective factors
       that may be pertinent is counsel's special expertise in
       litigating the particular type of case, if the case is
       of such nature as to benefit from special expertise. A
       litigant cannot overcome the presumption through mere
       proximity of the districts, nor can a litigant overcome
       the presumption by relying on the prestige or “brand
       name” of her selected counsel. Lawyers can achieve
       prestige and fame in numerous ways that do not
       necessarily translate into better results. The party
       seeking the award must make a particularized showing,
       not only that the selection of out-of-district counsel
       was predicated on experience-based, objective factors,
       but also of the likelihood that use of in-district
       counsel would produce a substantially inferior result.


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Simmons, 575 F.3d at 175–76 (emphasis added).

        Simmons makes clear that a litigant seeking an award of
        attorney's fees based on out-of-state rates must do more
        than just show that turning to out-of-state counsel was
        reasonable under the circumstances of the litigation.
        Specifically, the Defendants in this case [] “must
        overcome a presumption in favor of the forum rule, by
        persuasively establishing that a reasonable client would
        have selected out-of-district counsel because doing so
        would likely (not just possibly) produce a substantially
        better net result.”

Lawrence v. Richman Group of Conn., LLC, 660 F. Supp. 2d 292,

301 (D. Conn. 2009), judgment clarified, No. 3:03CV850(JBA),

2009 WL 3425741, vacated sub nom. Lawrence v. Richman Group of

CT LLC, 620 F.3d 153 (2d Cir. 2010)(quoting Simmons, 575 F.3d at

172.)     In rejecting the out-of-district rate in Lawrence, Judge

Arterton stated that “Plaintiff ‘should not be required to pay

for a limousine when a sedan could have done the job.’” Id. at

301 (quoting Simmons, 575 F.3d at 177).

        In further clarifying how a party meets its burden under

the standards articulated in Simmons, Judge Arterton indicated

that “[p]roving this ‘substantially inferior result’ prong does

not require a distasteful presentation of either professional

deficiencies or braggadocio; it requires a showing of subject

matter specialization or law firm resources needed for the

particular case which Connecticut firms could not adequately

provide.” Innis Arden Golf Club v. Bowes, No. 3:06CV1352 JBA,

2012 WL 1108527, at *3 (D. Conn. May 21, 2010).


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     In this case the defendant has asserted that Attorney

McDevitt, a 1980 graduate of Duquesne University School of Law,

has practiced both civil and criminal law for over 40 years.            In

addition, Attorney McDevitt has been primary outside counsel to

WWE for approximately 30 years.2         During oral argument Attorney

McDevitt articulated that WWE reviewed and paid all the bills

associated with this case.      In addition, Attorney McDevitt noted

that as a close friend and advisor to Vince McMahon and WWE,

none of Attorney McDevitt’s bills have ever been questioned.

Attorney McDevitt also pointed to his affiliation with the WWE

concussion management program and his experience with the

training done by WWE regarding concussions as further evidence

of the need for him to litigate this case.

     Defendant additionally directed the undersigned to Ceglia

v. Zuckerberg, No. 10-CV-00569A F, 2012 WL 503810, at *4

(W.D.N.Y. Feb. 14, 2012).      In Ceglia, the Court noted the

deterrent aspect of sanctions under Federal Rule of Civil

Procedure 11 and 37 as a reason not to apply to forum rule. See

Ceglia, 2012 WL 503810, at *8-*9.         However, as highlighted by

the Eastern District of New York, other courts have found that

the forum rule can be applied in sanctions cases. See 246 Sears


2 The Court is aware that the defendant filed supplemental affidavits
after oral argument. While the affidavits further articulate the
alleged reasons for WWE’s selection of out-of-district counsel, they
do not sufficiently cure the deficiencies identified by the Court
throughout this ruling.

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Rd. Corp. v. Exxon Mobil Corp., No. 09-CV-889 NGG JMA, 2013 WL

4506973, at *10 (E.D.N.Y. Aug. 22, 2013)(collecting cases).             The

Court finds that application of the forum rule can still

sufficiently serve both the compensatory and deterrent

objectives of the sanctions in question here.

     The evidence of Attorney McDevitt’s background and

affiliation with WWE is insufficient to overcome the presumption

in favor of the forum rule.     Defendant has not made a

particularized showing that local attorneys in Connecticut would

lack the experience or resources to properly litigate this

matter. As such Attorney McDevitt’s hourly rate and fees will be

reduced to a reasonable fee for the District of Connecticut.

     The Court notes that during oral argument, the Court

pointed out that even though the plaintiffs raised the “forum

rule” in their brief dated October 24, 2018 (Dkt. #389), the

defendant failed to address it, and failed to identify any

lawyers in Connecticut who have comparable experience and

comparable rates to Attorney McDevitt.       Thus, defendants failed

to establish that Attorney McDevitt’s hourly rate of $815 per

hour (increasing to $950 per hour) is reasonable and consistent

with the prevailing market rate in Connecticut.         After the oral

argument, the defendant, without first filing a motion for leave

to do so, filed two supplemental affidavits regarding the

reasonableness of counsel’s hourly rates and fees and arguing

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against the application of the forum rule. (Dkt. #449 and #450).

Plaintiffs filed a motion to strike the supplemental affidavits

as procedurally improper and failing on the merits.         While the

Court accepts the defendant’s argument that the motion to strike

is not proper in relation to an affidavit, the Court finds that

the motion to strike is academic and recommends that it be

denied as moot.   Defendant’s supplemental affidavits, which

contain facts as well as legal arguments, fail to adequately

remedy the deficiencies mentioned earlier with respect to the

application of the forum rule.3

     In arguing that the fees are reasonable in this case, the

defendant relies heavily on Wells Fargo Bank, NA v. Konover, No.

3:05CV1924 AWT, 2014 WL 3908596, at *1 (D. Conn. Aug. 8, 2014),

which is a breach of contract case involving a contract which

contains an attorney fee provision.




3 As articulated earlier, defendant must overcome the presumption in
favor of the forum rule and thereafter show that the rates charged by
the out-of-district lawyers are reasonable. Even when the Court
considers the supplemental affidavits, the defendant has failed to
meet its burden. Defendant has articulated Attorney McDevitt’s long
history in dealing with WWE and the WWE’s issues surrounding
concussions. However, no evidence has been provided which would
establish that a local law firm would lack the resources to litigate
this matter or that the alleged specialized knowledge of Attorney
McDevitt was required for this case. See Innis Arden Golf Club v.
Bowes, No. 3:06CV1352 JBA, 2012 WL 1108527, at *3 (D. Conn. May 21,
2010). Although the Court considered the supplemental affidavits, the
Court notes that they were filed after oral argument and more than a
year after the briefing closed, leaving plaintiffs at a disadvantage
to respond quickly to the new arguments and information.

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     In Wells Fargo, the Honorable Alvin W. Thompson discussed

much of the law regarding attorney fee awards in Connecticut.

Id. at *3-*10.    In so doing, Judge Thompson found that Day

Pitney LLP charged reasonable fees for the services they

rendered in the case.4    By analogy, defendant asserts that the

K&L Gates hourly rates are reasonable in this district because

they are “similar to the rates charged by attorneys at

comparable firms in Connecticut.” Dkt. #386 at 13. Defendant

asserts that the rates of the K&L Gates attorneys are generally

comparable to Day Pitney’s rates, so the K&L rates must be

reasonable too.   However, defendant does not provide enough

information for the Court to make a meaningful determination.

The Court must be able to determine if the specific K&L Gates

attorneys have comparable experience and skill to the Day Pitney

attorneys who bill at the same rate. By way of example, if the

defendant can point to a specific partner at Day Pitney in

Hartford who charges $950 per hour, the Court still needs to

determine that the partner at K&L Gates has comparable

experience and skill to his or her comparator at Day Pitney. In




4Although Judge Thompson did not discuss the forum rule in Wells Fargo,
the Court notes that the rates charged by the out -of-district lawyers
in that case seem to be well within the prevailing market rate in
Connecticut. It does not appear as though the par ties raised or
briefed the forum rule or that an argument was made that the hourly
rates exceeded the prevailing rate in the District of Connecticut.

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its brief and during oral argument Defendant did not provide

sufficient information for the Court to make this determination.

        During oral argument, the defendant highlighted that, in

Wells Fargo, Judge Thompson stated that there is a “presumption

that what a client actually paid constitutes a reasonable

fee[.]” Wells Fargo, 2014 WL 3908596, at *5.           Further, “when a

sophisticated client pays attorneys’ fees that it does not know

it will necessarily recover, the rate paid is presumptively

reasonable.” Id.       However, in establishing the loadstar for

reasonable fees, the Second Circuit has stated that “evidence of

the actual billing arrangement between [the party seeking fees]

and its counsel should be considered a significant, though not

necessarily controlling, factor in the determination of what fee

is reasonable.” Crescent Publ'g Group, Inc. v. Playboy

Enterprises, Inc., 246 F.3d 142, 151 (2d Cir. 2001)(emphasis

added).

        Allowing a sophisticated client to recover the attorney

fees paid to out-of-district counsel simply because the

sophisticated client paid the fees without necessarily knowing

it would recover them could potentially undermine the forum

rule.     An out-of-district attorney could potentially recover a

rate that far exceeds the prevailing rate in the local district

without going through the specific and detailed analysis that



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the Second Circuit articulated while discussing the forum rule

in Simmons.5

     In any event, the Court need not reconcile any potential

conflict between the sophisticated party presumption and the

presumptions associated with the forum rule because, as the

Court made clear in Simmons, a district court is first required

to apply a presumption in favor of the application of the forum

rule. As discussed below, based on the Court’s knowledge of

rates charged and fees awarded in the District of Connecticut,

the Court finds that the rates of $850 per hour and $950 per

hour are unreasonably high in the District of Connecticut.6

     In opposition to defendant’s argument that the fees are

reasonable simply because WWE is a sophisticated party and paid

the bills, plaintiffs argue that a party may be less

incentivized to question fees he anticipates recovering through



5
 In Doe v. Darien Bd. of Educ., 3:11cv1581(JBA), 2015 WL 8770003, at *3
(D. Conn. Dec. 14, 2015), plaintiff relied on Wells Fargo and other
similar decisions within the Second Circuit to argue that the rate of
$650 per hour was presumptively reasonable because the client agreed
to pay the hourly rate. Nevertheless, Judge Arterton found that $650
per hour was unreasonably high for civil rights cases within this
District and reduced the hourly rate to $450 per hour. Id, at *4.

6As the court noted in Bosal Indus.-Georgia, Inc. v. PM Engineered
Sols., Inc., No. 3:14 CV 2635, 2017 WL 11451006, at *2 (N.D. Ohio July
31, 2017), “while actual payment may be persuasive evidence of
reasonableness, it is not dispositive. (Citations omitted). For
example, Connecticut courts also recognize the ‘forum rule,’ under
which the ‘prevailing [hourly rate]’ in the local legal market is
considered presumptively reasonable.” Id.



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litigation.   Plaintiffs’ argument is that WWE would not be

concerned about paying fees, even if WWE considered the fees

high, if WWE assumed it would be reimbursed for the fees in

litigation.   In support of this argument, plaintiffs cite to a

case in which the Eastern District of New York found that a

party “in anticipation of an award of attorney’s fees, may have

been more willing to pay the bill as charged, instead of

scrutinizing the hours spent on each task.” Big R Food

Warehouses v. Local 338 RWDSU, 896 F. Supp. 292, 297 (E.D.N.Y.

1995).   Given the Court’s finding that the K&L rates are

unreasonably high for this District, the Court need not address

this argument.

     The next inquiry is whether Attorney McDevitt’s fees are

reasonable in the District of Connecticut for reasons other than

the simple fact that WWE paid the bills.        The Court notes that

“the fee applicant has the burden of showing by satisfactory

evidence—in addition to the attorney’s own affidavits—that the

requested hourly rates are the prevailing market rates.”

Farbotko v. Clinton Cnty. of N.Y., 433 F.3d 204, 209 (2d Cir.

2005)(internal quotation omitted).

     During oral argument, when the Court noted that defendant’s

briefs failed to identify any attorneys in Connecticut who had

comparable experience to Attorney McDevitt and who had a similar

billable rate (initially $815 per hour but then increasing to

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$950 per hour), the defendant, for the first time, mentioned two

current members of Day Pitney LLP. More specifically, defendant

mentioned Attorney Stanley Twardy and Attorney Christopher

Droney.7 During oral argument, defendant did not identify the

hourly rates of the two proposed comparators and did not attempt

to compare their background and experience to Attorney

McDevitt’s background and experience. Thus, at the time of the

oral argument, plaintiffs had no meaningful opportunity to

respond to defendant’s new argument.

     Although the Court never granted leave for the defendant to

file such affidavits, defendant filed supplemental affidavits

after the oral argument, attempting to address the deficiencies

that the Court pointed out during oral argument. (Dkt. #449 and

#450).   The supplemental affidavits, which incorporate new legal

arguments, disclose the hourly rates for the two proposed

comparators. However, they do not provide much information

regarding each comparator’s background and experience.          Since

the Court is familiar with the skill, reputation and experience

of the two proposed comparators, a brief discussion of their

backgrounds seems appropriate.



7 The Court concedes that defendant attempted to fix the problem in the
supplemental affidavits. However, after reading the supplemental
affidavits, the Court remains unconvinced that Attorn ey Twardy and
former Judge Droney are reasonable comparators when evaluating
Attorney McDevitt’s skill, experience and reputation and determining
the prevailing market rate in the District of Connecticut.

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     Attorney Twardy is the managing partner at Day Pitney and

has been practicing law for approximately 45 years. Prior to

joining Day Pitney, Attorney Twardy served as the U.S. Attorney

for the District of Connecticut from 1985 through 1991 and,

after leaving the U.S. Attorney’s Office, he served as Chief of

Staff to former Connecticut Governor Lowell Weicker. Among other

activities, he is a member of the American Bar Association’s

Criminal Justice Section and the White-Collar Crime Committee,

and has authored or co-authored several articles on legal

topics.

     Attorney Christopher Droney joined Day Pitney after he

retired from the bench in 2020.      During his illustrious career,

he worked at the law firm of Reid & Riege for 14 years and was a

partner when he left.    While at Reid & Riege, he served as the

Mayor of West Hartford from 1985 through 1989. He left Reid &

Riege in 1993 to become the U.S. Attorney for the District of

Connecticut and served in that position from 1993 through 1997.

Thereafter, he served as a District Judge for the District of

Connecticut for over 14 years before being appointed to the U.S.

Court of Appeals for the Second Circuit, where he served for

almost 10 years.

     Defendant asserts that Attorney Twardy and former Judge

Droney are reasonable comparators for Attorney McDevitt and

establish that the market rate for attorneys with 40 or more

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years of experience is $950 per hour.8       Although Attorney

McDevitt has an impressive resume and has obtained a

substantially impressive result for the defendant in this case,

the Court is not persuaded that he is sufficiently comparable to

Attorney Twardy or former Judge Droney in skill, experience and

reputation to use them as comparators for billing purposes. See

Townsend v. Benjamin Enters., Inc., 679 F.3d 41, 59 (2d Cir.

2012)(“[D]etermination of a reasonable hourly rate ‘contemplates

a case-specific inquiry into the prevailing market rates for

counsel of similar experience and skill to the fee applicant's

counsel,’ an inquiry that may ‘include judicial notice of

the rates awarded in prior cases and the court's own familiarity

with the rates prevailing in the district.’”)

(quoting Farbotko, 433 F.3d at 209).       The Court does not

question Attorney McDevitt’s experience or the fact that he is a

highly qualified litigator.     However, his background and

experience are not comparable to the two former U.S. Attorneys

he mentions, one of which is a highly respected former Judge who

served this District with great distinction for almost 25 years.

     “Reasonable hourly rates ‘are in line with those prevailing

in the community for similar services by lawyers of reasonably

comparable skill, experience and reputation.’” Parris v. Pappas,



8
 According to the supplemental affidavit, Attorney Twardy and former
Judge Droney each bill at $955 per hour. (Dkt. #450, at 2)

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844 F. Supp. 2d 262, 266 (D. Conn. 2012)(quoting Blum v.

Stenson, 465 U.S. 886, 895 (1984)).       “To determine whether a fee

is reasonable, a court may take ‘judicial notice of the rates

awarded in prior cases and the court's own familiarity with the

rates prevailing in the district.’” Goff v. Chivers, No.

3:15CV00722(SALM), 2017 WL 2896022, at *2 (D. Conn. July 7,

2017)(quoting Farbotko, 433 F.3d at 209)(collecting cases)).            As

mentioned earlier, aside from the Wells Fargo case, which does

not specifically address the reasonableness of out-of-district

fees for K&L Gates, the Court has been provided very little

evidence to support Attorney McDevitt’s request for an hourly

rate of up to $950 per hour or the other amounts billed by

attorneys at K&L Gates.     While the defendants attempt to

analogize the fees that Judge Thompson found reasonable for Day

Pitney in Wells Fargo to the rates that K&L Gates has proposed

in its affidavits, the defendants failed to provide the Court

with sufficient information to confirm that the rates are, in

fact, similar.

     After reviewing the submissions in this case, the Court

finds that the hourly rates charged by Day Pitney LLP in this

matter for Attorney Mueller9 are reasonable based largely on


9 The Court is informed that Attorney Mueller, a partner at Day Pitney,
has been litigating state and federal civil cases for over 10 years.
Attorney Mueller is a 2007 graduate of Yale Law School and served as a
law clerk for the Honorable Alvin W. Thompson from 2007 to 2008.
(Dkt. #386-2 at 3). His rate of $415 increasing to $480 is reasonable.

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Judge Thompson’s decision in Wells Fargo and based on the

Court’s knowledge of the prevailing market rates in

Connecticut.10

         However, the rates requested by K&L Gates are not

reasonable in light of the application of the forum rule and the

Court’s familiarity with the current rates in the District of

Connecticut.     The Honorable Sarah A.L. Merriam issued a ruling

in 2017, the timeframe during which most of the fees in this

case were incurred, and the rates Judge Merriam cited in her

ruling were well below the rates that K&L Gates is seeking in

this case.     Judge Merriam’s ruling collected the following

cases:

     See, e.g., Trustees of the I.B.E.W. Local Union No. 488
     Pension Fund v. Norland Elec., Inc., No. 3:11CV709(CSH),
     2015 WL 3581011, at *5 (D. Conn. June 5, 2015) (finding
     $250 a reasonable rate for an attorney with 14 years of
     experience practicing ERISA law); Crawford v. City of
     New London, No. 3:11CV1371(JBA), 2015 WL 1125491, at *3
     (D. Conn. Mar. 12, 2015) (noting that “an examination of
     more recent attorneys' fees awards in this district
     demonstrates that $450/hour is on the high end and is
     generally reserved for particularly        distinguished
     attorneys successfully taking on difficult or novel
     cases” (collecting cases)); Rousseau v. Morris, No.
     3:11CV01794(SRU), 2014 WL 941476, at *1 (D. Conn. Mar.
     11, 2014) (finding $350 a reasonable hourly rate for a
     nationally-recognized attorney with over 35 years'
     experience              litigating              consumer
     matters); Parris v. Pappas, 844 F. Supp. 2d 262, 266
     (D. Conn. 2012) (finding $275 per hour a reasonable rate
     for an attorney with more than eleven years of legal


10The Court is aware that Wells Fargo was decided in 2014, however, it
does not appear that the increase in Day Pitney’s fees over time has
been unreasonable.

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     experience); Valley Hous. Ltd. P'ship v. City of Derby,
     No. 3:06CV1319(TLM), 2012 WL 1077848, at *6 (D. Conn.
     Mar. 30, 2012) (finding $400 per hour a reasonable rate
     for a civil rights attorney with thirty years of
     experience, and $350 per hour reasonable for an attorney
     with   twenty-five    years   of   civil    rights   law
     experience); Bridgeport & Port Jefferson Steamboat Co.
     v. Bridgeport Port Auth., No. 3:03CV599(CFD), 2011 WL
     721582, at *5 (D. Conn. Feb. 22, 2011) (finding $325 per
     hour a reasonable rate for a partner with eighteen years
     of experience, and $275 per hour reasonable for senior
     associates with more than eight years of experience).

Friedman v. SThree PLC., No. 3:14CV00378(AWT), 2017 WL 4082678,

at *6 (D. Conn. Sept. 15, 2017).         The following year, the

Honorable Stefan R. Underhill stated that “a rate of $525 per

hour would be among the highest ever awarded in Connecticut.”

Lavatec Laundry Tech. GmbH v. Voss Laundry Sols., No. 3:13-CV-

00056 (SRU), 2018 WL 2426655, at *15 (D. Conn. Jan 9, 2018)

(emphasis added).    In Lavatec, Chief Judge Underhill awarded

Attorney David Slossberg, who had 29 years of complex litigation

experience at the time, the rate of $535 per hour.

     Although defendant suggests that the prevailing market rate

for an attorney with 40 years of experience is $950 per hour,

the fee awards in this District do not support that conclusion.

     In Goff v. Chivers, 3:15cv00722 (SALM), 2017 WL 2896022 (D.

Conn. July 7, 2017), the Honorable Sarah A.L. Merriam awarded

the rate of $500 per hour to Attorney John Williams, absent

objection. Judge Merriam noted that Attorney Williams has been

practicing for more than 49 years, has tried several civil


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rights cases to verdict, and is a frequent lecturer on Section

1983 litigation. Id. at *2.

        In A. v. Hartford Bd. of Educ., 3:11cv01381 (GWC), 2017 WL

187138 (D. Conn. Jan. 17, 2017), the Honorable Geoffrey W.

Crawford awarded Attorney David Shaw the rate of $450 per hour.11

Attorney Shaw is a Connecticut attorney who had more than 40

years of legal experience at the time.

        In Doe v. Darien Bd. of Educ., 3:11cv1581(JBA), 2015 WL

8770003, at *3 (D. Conn. Dec. 14, 2015), the Honorable Janet B.

Arterton awarded lead counsel, who had 35 years of jury trial

experience, the rate of $450 per hour.

        WWE has not identified any ruling in Connecticut that has

awarded a rate higher than $535 per hour, let alone $950 per

hour.     Had WWE identified such a ruling, it still would need to

explain or articulate how Attorney McDevitt would be comparable

in skill, experience and reputation to the attorney who was

awarded that hourly rate.

        As previously mentioned, Attorney McDevitt is a 1980

graduate of Duquesne University School of Law and has practiced


 The fee application in Hartford Bd. of Educ. included an affidavit
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from Attorney John Yavis. Attorney Yavis, who is a Connecticut
attorney with over 40 years of experience, opined that the prevailing
hourly rate in “complex civil litigation by Connecticut attorneys with
more than 40 years of litigation experience is within the range of
$500 to $550.” Hartford Bd. of Educ., 2017 WL 187138, at *4. While
the court did not award such a rate, Attorney Yavis’ sworn statement,
coupled with the cases cited in this ruling, contradict WWE’s
assertion that $950 per hour is the prevailing rate in Connecticut.

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both civil and criminal law for over 40 years.         In addition, he

has been primary outside counsel to WWE for approximately 30

years.   Taking his years of experience into consideration as

well as the result he obtained for the defendant in this case,

the Court recommends that Attorney McDevitt’s hourly rate be set

at $550/hour for the purpose of the fee application.          Given the

submissions and the published decisions, the rate of $550 per

hour is near the top end for the District of Connecticut and

appropriate given Attorney McDevitt’s credentials.

     Attorney Krasik, a partner at the Pittsburgh, Pennsylvania

office of K&L Gates, is a 1997 graduate of the University of

Pennsylvania Law School.     Attorney Krasick asserts that he has

worked with Attorney McDevitt for over 20 years representing WWE

in lawsuits throughout the country.       Taking into account the

same considerations that have been discussed already regarding

reasonable fees in the District of Connecticut, the Court

recommends setting Attorney Krasik’s hourly rate at $500 per

hour for the purpose of the fee application.

     Associate Attorney Stefanie Lacy and associate Attorney

Brian Kluckman both billed time in this case.        The defendant has

provided no information for the Court to review in relation to

their backgrounds, credentials or experience.        Attorney Lacy

billed at rates ranging from $305 per hour to $365 per hour.

Attorney Kluckman billed at a rate of $350 per hour for his very

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limited work on this case.     The Court finds that these rates are

slightly excessive for the district, particularly in light of

the cases cited above and the absence of any information

relating to each lawyer’s background and experience.12         Based on

the cases in this District and the Court’s awareness of rates

awarded in this District, the Court recommends setting an hourly

rate of $300 per hour for Attorney Lacy and Attorney Kluckman.

     Paralegal R.C. Sobolak was included in several entries in

the invoices that K&L Gates submitted as part of its fee

application.    Paralegal Sobolak’s time was billed at $285 per

hour and increased to $290 per hour over the course of the

litigation.    The Court finds that this hourly rate is excessive

for this District.    In a recent case, the Honorable Jeffrey A.

Meyer found that a rate of $230 per hour for paralegal time was

excessive.    See Bruce Kirby, Inc. v. LaserPerformance (Europe)

Ltd., No. 3:13-CV-00297 (JAM), 2020 WL 502653, at *5 (D. Conn.

Jan. 21, 2020).    In light of the complexities of that case,

Judge Meyer reduced the paralegal’s hourly rate to $150 per

hour. See Id. In this matter, which was also a complex case, the

Court finds that the rate of $150 per hour is also reasonable

for the paralegal time.



 As noted earlier, as the fee applicant, WWE has the burden of
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providing satisfactory evidence that the requested hourly rates are
the prevailing market rates. Farbotko v. Clinton Cnty. of N.Y., 433
F.3d 204, 209 (2d Cir. 2005).

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     II.   Defendant’s Time for PowerPoint Preparations

       Defendant took the initiative to develop and utilize

lengthy in-depth PowerPoint presentations during multiple

hearings in this case.       Including, the hearings held by the

undersigned in relation to sanctions.         While the PowerPoint

presentations were undoubtably useful to defendant in organizing

its thoughts, the Court did not seek or require visual aids in

relation to the hearings on sanctions.13         As such, the Court

recommends that the amount for the preparation, review, and

editing of the PowerPoint presentations be excluded from the

final award of fees.

       Upon review of the information submitted with the fee

application, there are several entries that mention the

PowerPoint presentations.       The total amount of the hours

excluded from the fee application relating to the Rule 37

sanctions is 50.7.      Additionally, with respect to the fee

application relating to defendant’s Rule 11 sanctions, the line

items related to PowerPoint presentations total 103.85.            The




13By way of example, during oral argument on the motions for sanctions,
defendant presented a PowerPoint presentation which quoted Judge
Bryant’s admonitions to plaintiffs’ counsel. However, defendant’s
brief had already quoted or discussed the admonitions in great detail.
(See Dkt. #198-1 and #229). The Court notes that both parties prepared
PowerPoint presentations in connection with the hearings on sanctions
but the Court did not request or need those presentations.

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Court recommends that these hours be excluded from the final

award.14

     III. Time Spent on Crime-Fraud Exception and Subornation of
          Perjury Argument

       Plaintiffs argue that they should not be required to pay

for the hours defendant spent researching or briefing the crime

fraud exception or the subornation of perjury argument in

relation to defendant’s motion for sanctions under Rule 37.

(Dkt. # 198).

       Defendant argues that there is nothing that requires the

hours spent on an unsuccessful argument to be precluded from a

recovery of fees.      Defendant cites to authority that indicates

that unless the service was deemed frivolous such fees may be

recoverable.     Seigal v. Merrick, 619 F.2d 160, 164 (2d Cir.

1980).

       Regarding the fees that were incurred in connection with

defendant’s subornation of perjury argument, although the

Court’s recommended ruling dated February 22, 2018 did not

include a detailed analysis of the merits, the Court explicitly

rejected the argument.       See Dkt. #371 at 6. In this district it


14The Court notes that most of these entries were explicitly, and
only, related to preparing, editing, reviewing, and discussing the
PowerPoint presentations for the hearings on the motions for
sanctions. Some of the entries listed additional tasks, without
itemizing the hours for such tasks. In those instances, where the
Court was unable to ascertain the number of hours spent specifically
on PowerPoint matters, the Court discounted those entries by 50% of
the asserted hours.

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has been held that “a court should not necessarily disallow fees

for every motion that a prevailing party did not win. Reasonable

paying clients may agree to pay[ ] their lawyers for advancing

plausible though ultimately unsuccessful arguments.” Research

Communications, Ltd. v. Meredith Corp., No. 3:00CV2179(DFM),

2008 WL 4183440, at *6 (D. Conn. Sept. 10, 2008)(internal

quotation omitted)(emphasis added).

     Plaintiffs request that all the general entries on

defendant’s invoices that relate to the subornation of perjury

argument should be excluded from the fee award.         The Court does

not agree.   However, the Court does find it reasonable to

exclude time explicitly related to only the arguments concerning

the crime fraud exception or subornation of perjury.          A review

of the invoices shows that 17.1 hours were explicitly related to

the subordination or perjury argument.       The undersigned

recommends that these hours be excluded from the final fee

award.

  IV.    Time Related to the Settlement Conference and Time
         Following the Appeal

     On March 8, 2021, defendant filed a supplemental

application for fees which included work performed following the

ruling from the Second Circuit Court of Appeals on September 9,




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2020.15    See Dkt. #446.   In the supplemental application for

fees, the defendant seeks compensation for an additional

$39,844.00 in fees incurred. Plaintiffs argue that all fees

incurred after the Second Circuit’s ruling should be excluded

from the fee award.

     After reviewing the affidavits and invoices that were filed

with the supplemental application for fees, the Court recommends

that these hours should be excluded.       When Judge Bryant issued

her award of sanctions, the sanctions did not include future

events such as the status conference that was subsequently held

before the Honorable Jeffrey A. Meyer or the settlement

conference that was eventually held by the Honorable Robert M.

Spector.

     To mitigate the risks and costs of litigation, judges will

often encourage parties to attend a settlement conference and

make a good faith attempt to resolve the case. It is often in

the best interests of both parties to attend such a conference.

Thus, ordering a party to reimburse his or her adversary for

fees incurred by the adversary in connection with a settlement

conference does not seem fair or reasonable, especially when

there is no allegation that the party who is being asked to pay




 The Second Circuit Court of Appeals affirmed the Honorable Vanessa L.
15

Bryant’s decision dismissing the case.


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the fees engaged in bad faith conduct during the settlement

conference.16       Awarding fees under these circumstances would

likely discourage parties from engaging in settlement

conferences. As a result, the Court recommends against ordering

the plaintiffs to reimburse defendant for the attorney fees it

incurred in connection with the settlement conference.

Accordingly, the total of $39,844 is excluded from the award.

     V.     Unreasonable Hours and Vague Billing

          Plaintiff’s final set of arguments relate to the total

amount of hours billed by defense counsel and the description of

those services on the invoices.           Plaintiffs make specific

objections to hours billed and assert that some entries are

duplicative. Further, plaintiffs argue that many of the hours

defense counsel spent comparing plaintiffs’ complaint with the

complaint in the NFL concussion litigation, reviewing releases,

and researching the current status of whether the individual

plaintiffs were still performing as wrestlers, are services that

were unrelated to the motions for sanctions.




 As the Honorable Joan G. Margolis has observed, the type of conduct
16

for which parties have been sanctioned for failing to act in good
faith during a settlement conference is narrow. 456 Corp. v. United
Foods, Inc., 2011 WL 5930467 at *5-7 (D. Conn. 2011). Here, there has
been no allegation or finding that the plaintiffs engaged in any bad
faith conduct during the settlement conference. Thus, it would seem
incongruous to punish the plaintiffs for simply attending a settlement
conference in good faith and trying to get the case settled.

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     The Court does not agree. “The Second Circuit has left

determination of redundancy in fee applications to the

discretion of the district court.” Bridges v. Eastman Kodak Co.,

No. 91 CIV. 7985 (RLC), 1996 WL 47304, at *6 (S.D.N.Y. Feb. 6,

1996) aff'd, 102 F.3d 56 (2d Cir. 1996). Based on a review of

the invoices and the briefs and based on the Court’s familiarity

with the underlying litigation, the Court finds that the issues

referenced above were closely linked to defendant’s motion to

dismiss and the motions for sanctions.       Thus, the Court

concludes that the time spent on these projects is compensable.

By way of example, one of the arguments that the defendant made

in support of the motion for sanctions was that the plaintiffs

copied the contents of the very lengthy complaint in the NFL

case and then adopted it (including the factual assertions) as

their own complaint without making a good faith effort to delete

facts or allegations that did not apply to this case. The time

spent comparing the two complaints was closely tied to the

motion to dismiss and at least one of the motions for sanctions.

The releases that were signed by some of the wrestlers were also

related to the motion to dismiss and the motions for sanctions.

Thus, the Court finds that no reduction is necessary for the

types of services rendered.

     Plaintiffs argue that the defendant overbilled on certain

tasks or included arguably administrative tasks at attorney

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rates and, therefore the Court should make an across-the-board

reduction. As the Second Circuit has held,

     [h]ours that are “excessive, redundant, or otherwise
     unnecessary,” are to be excluded, and in dealing with
     such surplusage, the court has discretion simply to
     deduct a reasonable percentage of the number of hours
     claimed as a practical means of trimming fat from a fee
     application,

Kirsch v. Fleet St., Ltd., 148 F.3d 149, 173 (2d Cir. 1998)

(internal citation and quotation ommitted). “Where the requested

amount of fees is excessive because the number of hours stated

is greater than should have been required, the Court should

reduce the stated hours accordingly.” Barile v. Allied

Interstate, Inc., No. 12 CIV. 916 (LAP) (DF), 2013 WL 795649, at

*2 (S.D.N.Y. Jan. 30, 2013) report and recommendation adopted,

No. 12 CIV. 916 (LAP), 2013 WL 829189 (S.D.N.Y. Mar. 4, 2013);

see e.g. Doe v. Darien Bd. of Educ., 3:11cv1581(JBA), 2015 WL

8770003, at *7 (D. Conn. Dec. 14, 2015)(after finding that four

attorneys and one paralegal working on the same brief for a

total of 85.9 hours was excessive, the court imposed an across-

the-board reduction).

     In this instance, although the Court is not suggesting or

implying that it was intentional, the Court finds that the

number of hours spent on the motions for sanctions is excessive.

Even with the reductions that the Court made earlier in this

ruling, a number of lawyers spent 599.35 hours in connection


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with the motion for sanctions under Rule 11 and 254.30 hours in

connection with the motion for sanctions under Rule 37, for a

combined total of 853.65 hours.      The Court finds that this is

excessive in this district and will exercise its discretion to

trim the fat or reduce the hours with an across-the-board

discount of 15%.

     Plaintiff also argues that the defendants have included

block billing in their invoices and that Day Pitney’s invoicing

practices are faulty. The Court does not agree.         In the Second

Circuit, the rule is that an attorney must submit a

contemporaneous time record in order to obtain fees.          See Darien

Bd. of Educ., No. 2015 WL 8770003, at *6. In Darien, Judge

Arterton aptly summarized the required detail that a party

should submit in his or her application,

     Counsel seeking fees are “not required to record in great
     detail   how   each    minute   of   [their]   time   was
     expended,” Hensley v. Eckerhart, 461 U.S. 424, 437 n.12
     (1983), but they are obliged “to keep and present records
     from which the court may determine the nature of the
     work done, [and] the need for and the amount of time
     reasonably required; where adequate contemporaneous
     records have not been kept, the court should not award
     the full amount requested,” F.H. Krear & Co. v. Nineteen
     Named Trustees, 810 F.2d 1250, 1265 (2d Cir. 1987).
     “[C]ounsel should at least identify the general subject
     matter of his [or her] time expenditures,” and in the
     absence of such identification, a court may refuse to
     award fees based on those entries. Electro–Methods, Inc.
     v. Adolf Meller Co., 473 F. Supp. 2d 281, 305–06 (D.
     Conn. 2007).




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Id. at *8.   The Court has reviewed the defendant’s submissions

and is not persuaded that they require reduction.         It was

sufficiently clear to the Court what was being worked on and how

the hours were spent.

                           Final Calculation

     In light of the above considerations the Court has

determined that it is appropriate to award attorneys’ fees to

defendant WWE as follows:

     In relation to WWE’s application for fees under the Rule 37

Sanctions, dkt. #378, the Court awards $113,665.00 in fees.

Attorney hours were reduced accordingly.         Fees associated with

K&L Gates are granted as follows:

 K&L Gates Fees         Rate             Hours           Total
Attorney McDevitt       $550             91.8            $50,490
Attorney Krasik         $500             49.3            $24,650
Attorney Kluckman       $300             21.6            $6,480
Attorney Lacy           $300             35.2            $10,560
Paralegal Sobolak       $150             12.7            $1,905
                                                         Total: $94,085


In addition, the Court reduced Attorney Mueller’s hours by .2 in

relation to a time entry on June 29, 2016 regarding the crime

fraud exception.    This resulted in a reduction of Day Pitney’s

fees by $83.00.    The total awarded for Day Pitney and Attorney

Mueller in relation to the Rule 37 sanctions therefore is

$19,580.




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     In relation to WWE’s application for fees in relation to

the Rule 11 sanctions, Dkt. #386, the Court awards $253,562.70

in fees and costs. This incorporates the above referenced

reductions in hourly rates for K&L Gates.        Hence the final award

of fees for K&L Gates is as follows:

K&L Gates Fees          Rate             Hours          Total
Attorney McDevitt       $550             104.2          $57,310
Attorney Krasik         $500             46.45          $23,225
Attorney Lacy           $300             89.8           $26,940
Paralegal Sobolak       $150             48.7           $7,305
                                                        Total: $114,780


In addition, the award should include K&L Gates costs in the

amount of $3959.70 in relation to the travel and lodging

expenses indicated in their application.

     There has not been any reduction to the fees requested by

Attorney Mueller and Day Pitney for the Rule 11 Sanctions

application.   The total awarded to Day Pitney is $134,823.

     In light of the foregoing calculations, and the application

of the 15% across-the-board reduction, the undersigned

recommends a total sanction award of $312,143.55.


                               CONCLUSION



     Based on the foregoing, the undersigned recommends that

defendant’s Applications for Attorneys’ fees and costs (Dkt. ##




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379, 386, and 446.) be GRANTED in part. The total amount of the

award is recommended to be $312,143.55.



     Any party may seek the district court’s review of this

recommendation. See 28 U.S.C. § 636(b) (written objections to

proposed findings and recommendations must be filed within

fourteen days after service of same); Fed. R. Civ. P. 6(a), 6(d)

& 72; Rule 72.2 of the Local Rules for United States Magistrate

Judges, United States District Court for the District of

Connecticut; Thomas v. Arn, 474 U.S. 140, 155 (1985); Frank v.

Johnson, 968 F.2d 298, 300 (2d Cir. 1992).        Failure to timely

object to a magistrate judge’s report will preclude appellate

review.   Small v. Sec’y of Health and Human Serv., 892 F.2d 15,

16 (2d Cir. 1989).



     SO ORDERED this 2nd day of September 2021, at Hartford,

Connecticut.

                                  __        /s/   __ ___ ____
                                  Robert A. Richardson
                                  United States Magistrate Judge




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